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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

T.S., et al.,                                 )
                                              )
                       Plaintiffs,            )
                                              )       Case No. 16 C 8303
                v.                            )
                                              )
TWENTIETH CENTURY FOX                         )
TELEVISION, et al.,                           )
                                              )
                       Defendants.            )

                          MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

        On October 5, 2016, minor Plaintiffs T.S. and Q.B., through their legal guardians,

brought the present twelve-count First Amended Class Action Complaint against Defendants

Twentieth Century Fox Television and other Fox entities (“Fox Defendants”); Cook County,

Illinois; Leonard Dixon, the Superintendent of Cook County Juvenile Temporary Detention

Center (“JTDC”); the Office of the Chief Judge of the Circuit Court of Cook County (Chief

Judge’s Office); and Defendant Does alleging violations of their constitutional rights, along with

supplemental state law claims. See 28 U.S.C. §§ 1331, 1367(a). Plaintiffs, who seek to

represent a class of similarly situated juveniles, bring the following substantive claims and

claims seeking to establish certain Defendants’ liability in their First Amended Complaint: (1) a

Fourteenth Amendment due process claim against all Defendants (Count I); (2) a Fourth

Amendment claim against all Defendants (Count II); (3) a Monell liability claim against Cook

County/and or the Chief Judge’s Office (Count III); (4) a joint action liability claim against the

Fox Defendants (Count IV); (5) a respondeat superior liability claim against the Fox Defendants

in relation to Plaintiffs’ constitutional claims (Count V); (6) a constitutional conspiracy claim
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against all Defendants (Count VI); (7) a state law breach of fiduciary duty claim against

Superintendent Dixon and Defendant Does (Count VII); (8) an inducement of breach of fiduciary

duty claim against the Fox Defendants (Count VIII); (9) an intentional infliction of emotional

distress claim against all Defendants (Count IX); (10) a state law civil conspiracy claim against

all Defendants (Count X); (11) a state law respondeat superior claim against Cook County, the

Chief Judge’s Office, and the Fox Defendants (Count XI); and (12) an indemnification claim

pursuant to 745 ILCS 10/9-102 against Cook County (Count XII).

       Before the Court are three separate motions to dismiss brought by the Fox Defendants,

Defendants Dixon and Cook County, and the Chief Judge’s Office pursuant to Federal Rule of

Civil Procedure 12(b)(6). For the following reasons, the Court denies the Cook County

Defendants’ and Chief Judge’s Office’ motions to dismiss the following claims – Counts I, III,

VII, IX and X, and grants without prejudice these Defendants’ motions to dismiss Count VI. As

to the Fox Defendants, the Court grants without prejudice Defendants’ motions to dismiss

Counts I, IV, VI, VIII, IX, and X. The Court grants with prejudice Defendants’ motions to

dismiss Counts II and V. Furthermore, the Court grants Plaintiffs leave to amend their

allegations in Counts IV, VI, VIII, IX, and X in a Second Amended Class Action Complaint – in

accordance with this ruling and consistent with counsel’s Rule 11 obligations – by no later than

May 12, 2017.1 See Runnion v. Girl Scouts of Greater Chicago & Nw. Indiana, 786 F.3d 510,

518 (7th Cir. 2015) (there is a “presumption in favor of giving plaintiffs at least one opportunity

to amend.”). Last, at this stage of the proceedings, Defendants Dixon and the Chief Judge’s


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         If Plaintiffs sufficiently allege joint action liability (Count IV) or their constitutional
conspiracy claim (Count VI) in the Second Amended Complaint, the Fox Defendants will remain
Defendants as to Plaintiffs’ constitutional due process violation as alleged in Count I.

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Office have not established their affirmative defenses regarding immunity. See Hyson USA, Inc.

v. Hyson 2U, Ltd., 821 F.3d 935, 939 (7th Cir. 2016) (“a plaintiff ordinarily need not anticipate

and attempt to plead around affirmative defenses.”).

                                      LEGAL STANDARD

       “A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) challenges the

viability of a complaint by arguing that it fails to state a claim upon which relief may be

granted.” Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736 (7th Cir. 2014); see also

Hill v. Serv. Emp. Int’l Union, 850 F.3d 861, 863 (7th Cir. 2017). Pursuant to Rule 8(a)(2), a

complaint must include “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). Under the federal pleading standards, a plaintiff’s

“factual allegations must be enough to raise a right to relief above the speculative level.” Bell

Atlantic v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). Put

differently, a “complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937,

1949, 173 L. Ed. 2d 868 (2009) (quoting Twombly, 550 U.S. at 570). When determining the

sufficiency of a complaint under the plausibility standard, courts must “accept all well-pleaded

facts as true and draw reasonable inferences in the plaintiffs’ favor.” Roberts v. City of Chicago,

817 F.3d 561, 564 (7th Cir. 2016).

                                         BACKGROUND

I.     Introduction

       In the summer of 2015, officials placed the JTDC on lockdown so that it could be used to

film episodes for the Fox television show Empire. (R. 23, First Am. Compl. Intro. ¶ 1.) More


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specifically, the filming of Empire at the JTDC occurred over three different time periods in the

summer of 2015, namely, June 21 through 26, July 13 through 16, and August 23 through 26.

(Id. ¶ 30.) Plaintiffs, who were juvenile detainees during that time, allege that JTDC officials

“placed off limits” certain areas that are essential to the JTDC’s mission of educating and

rehabilitating the hundreds of juveniles housed there, including the JTDC’s school, its facilities

for family visits, the outdoor recreation yard, the library, the infirmary, and the chapel. (Id.

Intro. ¶ 1, ¶¶ 30, 32, 35.) JTDC officials placed these areas off limits so the Fox Defendants’

agents and employees could use these areas to stage and film the television show. (Id. Intro. ¶

1.) To that end, JTDC officials ordered that the juvenile detainees either remain in their cells or

be placed in jail-style “pod” areas, which significantly limited the juveniles’ movement. (Id.

Intro. ¶ 2, ¶¶ 34, 36.) As a result, the juvenile detainees sat for days on end, their schooling

existed in name only, visits from their families were effectively eliminated, and sick-call

requests were ignored, among other alleged deprivations. (Id. Intro. ¶ 2, ¶¶ 35, 38.) In short,

these lockdowns effectively cancelled or interrupted the JTDC programs intended to help the

juvenile detainees. (Id. Intro. ¶ 2, ¶ 40.) Plaintiffs allege that the purpose of these lockdowns

was to provide the Fox Defendants with a realistic prison facility for the Empire episodes. (Id.

Intro. ¶ 3.)

II.     Agreement to Film at the JTDC

        In the spring of 2015, Superintendent Dixon and/or the Chief Judge’s Office, one or more

of the Fox Defendants, and/or one or more of the Defendant Does entered into an agreement

permitting Empire’s crew to film at the JTDC. (Id. ¶¶ 29, 56.) The parties’ agreement

contemplated that the Empire crew of approximately 250 individuals, including dozens of staff,


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actors, and extras, would have access to many of the restricted facilities on the JTDC’s second

and third floors and that the juveniles would be barred from those facilities so the crews could

work without interruption. (Id. ¶¶ 29, 31, 32.) Plaintiffs allege that under this agreement, the

JTDC would confine the juvenile detainees to their cells and pods on the JTDC’s upper floors for

extended periods of time. (Id. ¶¶ 29, 34.) According to Plaintiffs, in reaching this agreement, all

of the Defendants knew that filming Empire at the JTDC would result in the lockdowns and

attendant restrictions on the juvenile detainees housed there. (Id. ¶ 29.) In addition, internal

JTDC planning documents prepared for the Empire filming indicate that many JTDC staff

members were expected or directed to leave their normal duties to provide services to the Empire

crew, including acting as extras in the show, assisting at the delivery docks to permit the free

flow of film equipment, escorting actors and crew members to and from the set, and cleaning up

after the crew. (Id. ¶ 33.)

III.     Juvenile Pretrial Detainees

         To put the disruptions resulting from the filming of Empire in context, Plaintiffs allege

that many of the juveniles housed at the JTDC have encountered traumatic experiences prior and

during their detention, including that sixty percent of the juveniles who enter the JTDC have

been diagnosed with a mental disorder and around one-quarter of them are taking prescribed

psychotropic medications. (Id. ¶ 18.) Added to this, Plaintiffs assert that the juveniles

frequently arrive at the JTDC in a state of crisis having been separated from their families and

placed in confinement. (Id.) Plaintiffs also allege that the 2015 lockdowns were psychologically

damaging to many of the juvenile detainees because they were forced to remain idle in their cells

and pods. (Id. ¶ 48.) According to Plaintiffs, as a proximate result of these lockdowns and the


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attendant conditions, the juveniles housed at the JTDC suffered emotional and psychological

pain, were deprived of meaningful opportunities for rehabilitation, education, and family visits,

and were subjected to increased risk of physical violence at the hands of other juveniles at the

facility. (Id. ¶ 78.)

                                             ANALYSIS

I.      Constitutional Claims

        In Counts I through VI of the First Amended Complaint, Plaintiffs bring substantive

constitutional claims pursuant to 42 U.S.C. § 1983, as well as claims seeking to establish certain

Defendants’ liability for the alleged constitutional violations. To succeed on their § 1983 claims,

Plaintiffs must show: “(1) the deprivation of a right secured by the Constitution or federal law

and (2) that defendants were acting under color of state law.” Wilson v. Warren Cnty., Illinois,

830 F.3d 464, 468 (7th Cir. 2016). As Plaintiffs acknowledge, the Fox Defendants are not state

actors, and thus they cannot be liable for any constitutional violations unless Plaintiffs have

sufficiently alleged their joint action with state actors and/or that the Fox Defendants conspired

with state actors to deprive Plaintiffs of their constitutional rights. See id.; see also L.P. v.

Marian Catholic High Sch., 852 F.3d 690 (7th Cir. 2017). Before determining whether Plaintiffs

have sufficiently alleged that the Fox Defendants acted jointly with the state actor Defendants,

the Court first turns to whether Plaintiffs have adequately alleged the substantive constitutional

claims under Iqbal and Twombly.

        A.      Fourteenth Amendment Due Process Claim – Count I

        In Count I of the First Amended Complaint, Plaintiffs allege that as juvenile detainees,

the Fourteenth Amendment due process clause provides them certain protections in relation to


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the conditions of their confinement and that all of the Defendants violated these protections. See

Schall v. Martin, 467 U.S. 253, 269, 104 S.Ct. 2403, 81 L.Ed.2d 207 (1984) (“[d]ue process

requires that a pretrial detainee not be punished”) (quoting Bell v. Wolfish, 441 U.S. 520, 99

S.Ct. 1861, 60 L.Ed.2d 447 (1979)); see also Bergren v. City of Milwaukee, 811 F.2d 1139,

1142-43 (7th Cir. 1987). As the Seventh Circuit instructs, “there is little practical difference, if

any, between the standards applicable to pretrial detainees and convicted inmates when it comes

to conditions of confinement claims, and that such claims brought under the Fourteenth

Amendment are appropriately analyzed under the Eighth Amendment test.” Smith v. Dart, 803

F.3d 304, 310 (7th Cir. 2015). That being said, under the seminal Supreme Court decision

relating to pretrial detainees’ due process rights, namely, Bell v. Wolfish, the Supreme Court held

that “court[s] must decide whether the disability is imposed for the purpose of punishment or

whether it is but an incident of some other legitimate governmental purpose.” Bell, 441 U.S. at

538. More specifically, “[i]n the absence of an expressed intent to punish, a pretrial detainee can

nevertheless prevail by showing that the actions are not ‘rationally related to a legitimate

nonpunitive governmental purpose’ or that the actions ‘appear excessive in relation to that

purpose.’” Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473 (2015) (quoting Bell, 441 U.S. at

561). Also, “[i]n assessing whether the treatment of the detained juvenile satisfies the

requirements of due process, it is quite appropriate – indeed necessary – to consider that in such

an environment juveniles may indeed have different needs and more importantly, different

capacities than adults.” Bergren, 811 F.2d at 1143.

       Here, the challenged governmental action consists of the three lockdowns at the JTDC

that occurred in June, July, and August 2015. Plaintiffs argue that these lockdowns, which


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resulted in the denial of their due process rights, were not rationally related to a legitimate

nonpunitive purpose, but rather, the purpose of these lockdowns was to provide the Fox

Defendants with a realistic prison facility to film two Empire episodes. In response, Defendants

Dixon and Cook County argue that Plaintiffs have failed to allege a sufficient deprivation of

their liberty interests in the context of substantive due process protections pursuant to Sandin v.

Conner, 515 U.S. 472, 115 S.Ct. 2293, 132 L.Ed.2d 415 (1995), and its progeny – which is not

Plaintiffs’ theory of liability concerning the conditions of their confinement because Plaintiffs

are not incarcerated adult prisoners challenging disciplinary segregation. See id. at 485 (“The

punishment of incarcerated prisoners, on the other hand, serves different aims than those found

invalid in Bell.”); see also Wilkinson v. Austin, 545 U.S. 209, 223, 125 S.Ct. 2384, 162 L.Ed.2d

174 (2005) (“The Sandin standard requires us to determine if assignment to [a Supermax prison]

‘imposes atypical and significant hardship on the inmate in relation to the ordinary incidents of

prison life.’”) (citation omitted). Instead, Plaintiffs’ theory of the case is that all of the

Defendants violated Plaintiffs’ due process rights in relation to the conditions of their

confinement as juvenile pretrial detainees in contradiction of Bell v. Wolfish. As such,

Defendants’ arguments relying on Sandin and Wilkinson are unavailing. Similarly, the Chief

Judge’s Office’s “shock the conscience” argument is without merit because Bell did not instruct

“federal courts to inquire into the state of anyone’s conscience.” Titran v. Ackman, 893 F.2d

145, 147 (7th Cir. 1990) (“Bell v. Wolfish did not instruct the inferior federal courts to inquire

into the state of anyone’s conscience, and to the extent ‘substantive due process’ applies, it is ‘at

best redundant of [sic] that provided by the Eighth Amendment.’”) (citation omitted).




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       Next, all of the Defendants attempt to pick apart each alleged constitutional deprivation

in isolation despite well-settled Seventh Circuit authority “that some conditions which taken

singly do not constitute cruel or unusual punishment, may in cumulative effect violate the Eighth

Amendment.” Dixon v. Godinez, 114 F.3d 640, 643 (7th Cir. 1997); see also Gray v. Hardy, 826

F.3d 1000, 1005 (7th Cir. 2016) (“[s]ome conditions of confinement may establish an Eighth

Amendment violation in combination when each alone would not do so.”) (citation omitted).

Viewing the allegations and all reasonable inferences in Plaintiffs’ favor – and the alleged

deprivations as a whole – Plaintiffs have plausibly stated the denial of their due process rights by

alleging that the filming of the Empire episodes and Defendants’ attendant conduct resulted in

depriving the juvenile detainees access to the infirmary and the denial of sick-call requests, along

with the elimination of schooling, family visits, and restricting the juveniles’ movement and

outdoor activities. See Smith, 803 F.3d at 313 (“We have recognized that lack of exercise can

rise to a constitutional violation”); Ortiz v. City of Chicago, 656 F.3d 523, 531 (7th Cir. 2011)

(“Each state actor who encounters a detainee must reasonably respond to medical complaints.”);

Swansey v. Elrod, 386 F. Supp. 1138, 1143 (N.D. Ill. 1975) (“children who remain unconvicted

of any crime may not be subjected to devastating psychological and reprehensible physical

conditions”). In fact, Plaintiffs’ allegations regarding the denial of access to the infirmary and

the rejected sick-call requests – alone – state an actionable claim. See, e.g., Dobbey v. Mitchell-

Lawshea, 806 F.3d 938, 940 (7th Cir. 2015); Gallagher v. City of Winlock, Wash., 287 Fed.

Appx. 568, 576 (9th Cir. 2008).

       Nevertheless, all of the Defendants argue that the deprivations were short-term

inconveniences – taking issue with Plaintiffs’ characterization of the alleged constitutional


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deprivations. At this procedural posture, however, the Court must view the facts and all

reasonable inferences in Plaintiffs’ favor, not in Defendants’ favor. See Erickson v. Pardus, 551

U.S. 89, 94, 127 S.Ct. 2196, 167 L.Ed.2d 1081 (2007); Smith, 803 F.3d at 309. Additionally,

Plaintiffs have adequately alleged that there was no legitimate governmental purpose for the

lockdowns, but rather the lockdowns provided the Fox Defendants with a realistic prison facility

to use as a set for two Empire episodes – allegations that allow the Court to reasonably infer the

purpose of the governmental action was punishment. See Bell, 441 U.S. at 538-39 (“if a

restriction or condition is not reasonably related to a legitimate goal – if it is arbitrary or

purposeless – a court permissibly may infer that the purpose of the governmental action is

punishment that may not constitutionally be inflicted upon detainees.”); Mulvania v. Sheriff of

Rock Island Cnty., 850 F.3d 849 (7th Cir. 2017) (“A pretrial condition can amount to punishment

in two ways: first, if it is ‘imposed for the purpose of punishment,’ or second, if the condition ‘is

not reasonably related to a legitimate goal – if it is arbitrary or purposeless – a court permissibly

may infer that the purpose of the government action is punishment.’”) (quoting Bell, 441 U.S. at

538-39). As such, Plaintiffs’ allegations are sufficient at this stage of the proceedings. Thus, the

Court denies Defendants’ motion to dismiss Count I of the First Amended Complaint.2



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          In their opening brief, the Fox Defendants make a cursory argument that Plaintiffs’
constitutional claims fail because “named plaintiffs who represent a class ‘must allege and show
that they personally have been injured, not that injury has been suffered by other, unidentified
members of the class to which they belong.’” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547
(2016) (citation omitted). Not only is this argument undeveloped, but as the direct quotation
implicates, it is best left for Plaintiffs’ class certification motion. See United States v. Cisneros,
846 F.3d 972, 978 (7th Cir. 2017) (perfunctory and undeveloped arguments are waived). In
addition, the Fox Defendants did not make any cogent standing arguments based on Spokeo until
their reply brief. See Wedemeyer v. CSX Transp., Inc., 850 F.3d 889, 897(7th Cir. 2017)
(arguments made first time in reply brief are waived).

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         B.     Fourth Amendment Claim – Count II

         In the alternative to their Fourteenth Amendment due process claim, in Count II,

Plaintiffs bring a Fourth Amendment claim against all of the Defendants arguing that the

Supreme Court has not definitely determined whether the Fourth Amendment continues to

provide protection against the use of excessive force beyond arrest. See Graham v. Connor, 490

U.S. 386, 395 n.10, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989); see also Kingsley, 135 S.Ct. at

2479 (Alito, J., dissenting) (“we should decide whether a pretrial detainee can bring a Fourth

Amendment claim based on the use of excessive force by a detention facility employee,” because

“[w]e have not yet decided that question.”). Plaintiffs’ argument is misplaced because the

Supreme Court has repeatedly recognized that “the Due Process Clause protects a pretrial

detainee from the use of excessive force that amounts to punishment.” See Graham v. Connor,

490 U.S. 386, 395 n.10, 109 S.Ct. 1865, 104 L.Ed.2d 443 (1989); see also Collins v. City of

Harker Heights, Tex., 503 U.S. 115, 127, 112 S.Ct. 1061, 117 L.Ed.2d 261 (1992) (“the Due

Process Clause of its own force requires that conditions of confinement satisfy certain minimal

standards for pretrial detainees”). As such, an alternative claim based on the Fourth Amendment

is unwarranted. The Court grants, with prejudice, Defendants’ motions to dismiss Plaintiffs’

Fourth Amendment claim as alleged in Count II.

II.      Claims Pertaining to Liability

         A.     Joint Action Liability – Count IV

         As mentioned above, Plaintiffs seek to establish that the Fox Defendants – despite being

private actors – acted under color of state law as required by § 1983, and thus are liable for the

purported constitutional violations. “The Supreme Court has set forth various tests to use when


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deciding whether someone is a governmental actor, including the ‘symbiotic relationship test, the

state command and encouragement test, the joint participation doctrine, and the public function

test.’” Listecki v. Official Comm. of Unsecured Creditors, 780 F.3d 731, 738 (7th Cir. 2015)

(citation omitted). Plaintiffs seek to establish that the Fox Defendants are liable for the alleged

constitutional deprivations under the “joint action” or “joint participation” doctrine in relation to

their Fourteenth Amendment due process claim alleged in Count I. “To act ‘under color’ of law

does not require that the accused be an officer of the State,” it “is enough that he is a willful

participant in joint activity with the State or its agents.” Adickes v. S. H. Kress & Co., 398 U.S.

144, 152, 90 S.Ct. 1598, 26 L.Ed.2d 142 (1970) (citation omitted). As the Seventh Circuit

recently explained, a “private person acts under color of state law when she is a ‘willful

participant in joint action with the State or its agents,’” which requires “‘evidence of a concerted

effort between a state actor and that individual.’” L.P., 852 F.3d 690 (citation omitted). More

specifically, for “a private actor to act under color of state law he must have ‘had a ‘meeting of

the minds’ and thus reached an understanding’ with a state actor to deny plaintiffs a

constitutional right.” Wilson, 830 F.3d at 468 (citation omitted); see also L.P., 852 F.3d 690

(“The plaintiff must identify a sufficient nexus between the state and the private actor to support

a finding that the deprivation committed by the private actor is ‘fairly attributable to the state.’”)

(citation omitted). Under this standard, Plaintiff must allege facts supporting a reasonable

inference that there was “a meeting of the minds” between the private and public defendants and

that they shared a common goal in relation to the deprivation of Plaintiffs’ constitutional rights.

See Wilson, 830 F.3d at 468.




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       In their First Amended Complaint, Plaintiffs allege that Defendant Superintendent Dixon

or the Chief Judge, one or more of the Fox Defendants, and/or one or more of the Defendant

Does willfully entered into an agreement that would permit Empire’s crew to film at the JTDC,

and that as a result of implementing this agreement, Defendants deprived the juvenile detainees

of their Fourteenth Amendment due process rights. Plaintiffs further contend that the Fox

Defendants acted together with – and obtained significant assistance from – the Cook County

Defendants in filming Empire for commercial purposes, and that Defendants knew that filming

Empire at the JTDC would result in lockdowns that placed unconstitutional restrictions on the

juveniles housed there. (First Am. Compl. ¶ 83.) According to Plaintiffs, the Fox Defendants

deliberately encouraged the JTDC’s administrators to improperly place the JTDC on lockdown

during the filming of Empire, and the contemplated and obvious result of this agreement was

restricting the juvenile detainees’ movement. (Id. ¶ 93.)

       Construing Plaintiffs’ allegations as true and drawing all reasonable inferences in

Plaintiffs’ favor, they have failed to sufficiently allege that the Fox Defendants and any of the

state actor/government Defendants reached an understanding to deny the juvenile detainees’

constitutional rights. See Iqbal, 556 U.S. at 679 (“Determining whether a complaint states a

plausible claim for relief” is “a context-specific task that requires the reviewing court to draw on

its judicial experience and common sense.”). Although Plaintiffs’ allegations suggest an

agreement between the private and state actors that resulted in restricting the juvenile detainees’

movement and access to facilities, Plaintiffs have failed to allege sufficient facts raising a

reasonable inference that the state and private actors had a “meeting of minds” in relation to a

shared unconstitutional goal. See Adickes, 398 U.S. at 158; Wilson, 830 F.3d at 468-69.


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       In support of their joint action allegations, Plaintiffs rely on cases in which federal courts

have concluded that media defendants acted under color of state law because they and the public

defendants had either collaborated in an arrest or agreed to film actual criminal activity. See,

e.g., Smart v. City of Miami, 107 F. Supp. 3d 1271, 1287 (S.D. Fla. 2015) (media defendant’s

filming murder scene and arrest violated Fourth Amendment); Conradt v. NBC Universal, Inc.,

536 F. Supp.2d 380, 392 (S.D.N.Y. 2008) (“for the sake of a more exciting television show,”

media defendant “instigated and then placed itself squarely in the middle of a police

operation.”); cf. Lauro v. Charles, 219 F.3d 202 (2d Cir. 2000) (staged “perp walk” constitutes

Fourth Amendment violation); Frederick v. Biography Channel, 683 F. Supp. 2d 798, 800 (N.D.

Ill. 2010) (“a symbiotic relationship between a governmental body and a private party can place

the private party squarely in the crosshairs of the Fourteenth Amendment.”). These cases are not

persuasive because Plaintiffs allege that the Fox Defendants filmed scripted episodes of Empire

with actors – not that the parties agreed to recreate or film actual criminal activity. As such, the

Court grants this aspect of the Fox Defendants’ motion without prejudice. The Court grants

Plaintiffs leave to amend their joint action allegations keeping in mind counsel’s Rule 11

obligations.

       Last, the Fox Defendants’ argument that the parties’ “Location Agreement” is the only

relevant contract at issue and that the Location Agreement (and presumably its subsequent

addenda) does not contemplate denying Plaintiffs’ civil rights is an overly formalistic argument

ignoring the alleged relationship and agreement between the Fox Defendants and the government

officials in this matter. See Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass’n, 531

U.S. 288, 302 n.4, 121 S.Ct. 924, 148 L.Ed.2d 807 (2001) (“[I]f formalism were the sine qua non


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of state action, the doctrine would vanish owing to the ease and inevitability of its evasion, and

for just that reason formalism has never been controlling.”).3 Nonetheless, Plaintiffs have still

failed to sufficiently allege joint action under the federal pleading standards.

       B.       Federal Conspiracy Claim – Count IV

       In Count IV, Plaintiffs seek to establish the Fox Defendants’ liability, in tandem with the

other Defendants’ liability, for the alleged due process deprivations via a § 1983 conspiracy

claim. First, despite Defendants’ arguments to the contrary, Plaintiffs have adequately alleged

constitutional deprivations underlying their conspiracy claim. See Katz-Crank v. Haskett, 843

F.3d 641, 650 (7th Cir. 2016) (“there is no independent cause of action for § 1983 conspiracy”).

Second, Defendants argue that Plaintiffs have failed to sufficiently allege that the state and

private Defendants acted in conspiracy to deny the juvenile detainees’ constitutional rights. The

Court agrees.

       The elements of a § 1983 conspiracy claim include that (1) the individuals reached an

agreement to deprive a plaintiff of his constitutional rights; and (2) overt acts in furtherance of

the agreement actually deprived the plaintiff of those constitutional rights. See Beaman v.

Freesmeyer, 776 F.3d 500, 510 (7th Cir. 2015); see also Cooney v. Casady, 735 F.3d 514, 518

(7th Cir. 2013) (“The participants in the conspiracy must share the general conspiratorial

objective, but they need not know all the details of the plan designed to achieve the objective or


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          The Fox Defendants’ attempt to rebut Plaintiffs’ well-pleaded allegations with their
own contract interpretation of the Location Agreement is misplaced at this stage of the case,
especially because Plaintiffs do not refer to this contract in their First Amended Complaint nor
did Plaintiffs attach this contract to their First Amended Complaint. See Geinosky v. City of
Chicago, 675 F.3d 743, 745 n.1 (7th Cir. 2012) (“A motion under Rule 12(b)(6) can be based
only on the complaint itself, documents attached to the complaint, documents that are critical to
the complaint and referred to in it, and information that is subject to proper judicial notice.”).

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possess the same motives for desiring the intended conspiratorial result.”) (citation omitted). In

their First Amended Complaint, Plaintiffs allege that the Fox Defendants conspired with the

government Defendants to inflict a wrong on the juvenile detainees that ultimately violated their

due process rights. Although Plaintiffs have adequately alleged violations of their due process

rights as juvenile detainees and that Defendants had an agreement, Plaintiffs have not

sufficiently alleged facts raising a reasonable inference that Defendants’ agreement concerned

depriving the juvenile detainees’ constitutional rights. See Tom Beu Xiong v. Fischer, 787 F.3d

389, 398 (7th Cir. 2015) (“bare allegation of a conspiracy between private and state entities is

insufficient to bring the private entity within the scope of § 1983.”) (citation omitted). The Court

thus grants Defendants’ motions to dismiss Plaintiffs’ § 1983 conspiracy claim without prejudice

and grants Plaintiffs leave to amend these allegations in their Second Amended Class Action

Complaint.

       C.      Respondeat Superior – Count V

       In Count V, Plaintiffs allege that the Fox Defendants are liable for their employees’ and

agents’ conduct in relation to Plaintiffs’ § 1983 due process claim under the theory of respondeat

superior. Plaintiffs base this claim on dicta in the Seventh Circuit’s decision Shields v. Illinois

Dept. of Corr., 746 F.3d 782, 789 (7th Cir. 2014), to preserve their argument as an alternative

basis for liability in case this dicta becomes law. To clarify, in Shields, the Seventh Circuit

recognized that under § 1983 a private corporation cannot be held liable based on the employee-

employer relationship, namely, respondeat superior, but that this issue deserved “fresh

consideration” in the future. See id. at 789 (citing Iskander v. Village of Forest Park, 690 F.2d

126, 128 (7th Cir. 1982)). The Court thus grants the Fox Defendants’ motion with prejudice.


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       D.      Immunity Affirmative Defenses

       Before addressing Plaintiffs’ allegations under Monell v. Department of Social Servs.,

436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978) – which concern Superintendent Dixon and

the Chief Judge’s Office – the Court turns to these Defendants’ immunity arguments to

determine whether they remain named Defendants to this lawsuit.

               1.      Eleventh Amendment Immunity – The Chief Judge’s Office

       The Chief Judge’s Office brings the affirmative defense of Eleventh Amendment

immunity. See Hess v. Port Authority Trans–Hudson Corp., 513 U.S. 30, 39, 115 S.Ct. 394, 130

L.Ed.2d 245 (1994) (“The Eleventh Amendment largely shields States from suit in federal court

without their consent.”). In particular, the Chief Judge’s Office argues that because the Eleventh

Amendment bars lawsuits against state officers acting in their official capacities, the Court must

dismiss Chief Judge Evans from this lawsuit because Illinois Circuit Court judges are state

officials. See Orenic v. Illinois State Labor Relations Bd., 127 Ill. 2d 453, 475, 130 Ill. Dec. 455,

537 N.E.2d 784 (Ill. 1989) (“members of the judicial branch of State government ... are not

county officers”). Indeed, Plaintiffs agree that the Eleventh Amendment generally affords Chief

Judge Evans immunity from suit. Nevertheless, Plaintiffs seek to establish that the Chief Judge’s

Office is liable because operation of the JTDC is a county function – as opposed to the Chief

Judge’s actions taken pursuant to his state-officer judicial powers. In support of their argument,

Plaintiffs point to the Illinois County Shelter Care and Detention Home Act (“Detention Home

Act”), which allows counties in Illinois to create and operate juvenile detention centers. See 55

ILCS 75/1; see also Acme Markets, Inc. v. Callanan, 236 Ill. 2d 29, 31, 337 Ill.Dec. 867, 923

N.E.2d 718 (Ill. 2009) (taxes for the funding county’s detention home as provided by the


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Detention Home Act are levied by each Illinois county).

       In response, the Chief Judge’s Office maintains that Chief Judge Evans’ actual function

under the Detention Home Act is limited because the Act merely gives the Chief Judge power to

“appoint an administrator to serve as Superintendent,” as well as other “necessary personnel” to

administer the JTDC, along with direct control of the JTDC’s budget. See 55 ILCS 75/3(b), (c);

see also McMillian v. Monroe Cnty., Ala., 520 U.S. 781, 786, 117 S.Ct. 1734, 138 L.Ed.2d 1

(1997) (the court’s “understanding of the actual function of a governmental official, in a

particular area, will necessarily be dependent on the definition of the official’s functions under

relevant state law.”). Accordingly, the Chief Judge’s Office argues that – even if administration

under the Detention Home Act is a county function – Defendant Superintendent Dixon is the

individual with administrative authority over the JTDC pursuant to the Act. See 55 ILCS

75/3(b). At this stage of the proceedings – and in light of the transition of administrators during

the relevant time period – whether Superintendent Dixon had administrative authority over the

JTDC during the relevant time period and was the governmental official who gave the Fox

Defendants permission to film Empire at the JTDC is not as clear-cut as the Chief Judge’s Office

suggests. See McMillian, 520 U.S. at 785 (“the question is not whether [the official] acts for [the

state] or [c]ounty in some categorical, ‘all or nothing’ manner.... Our cases on the liability of

local governments under § 1983 instruct us to ask whether governmental officials are final

policymakers for the local government in a particular area, or on a particular issue.”).

       To give context, in 2007, the State of Illinois enacted legislation that transferred the

administration of the JTDC from Cook County’s executive branch (Board of Commissioners) to

the Chief Judge’s Office allowing the Chief Judge to appoint and remove administrators to run


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the JTDC. See Doe v. Cook Cnty., Illinois, 798 F.3d 558, 560 (7th Cir. 2015). The Chief Judge

appointed Superintendent Dixon as JTDC Superintendent in May 2015 – one month before the

filming of Empire began. See id. Prior to May 2015, Transitional Administrator Earl Dunlap

was tasked with running the JTDC.4 Also, in the First Amended Complaint, Plaintiffs allege that

the Chief Judge Timothy Evans knew about and approved the filming of Empire at the JTDC, as

well as the facility’s consequent lockdown, and that the lockdown occurred during the high-

profile transition in which the Chief Judge’s Office took administrative control of the JTDC.

(First Am. Compl. ¶¶ 56, 57.) Plaintiffs further assert that despite Superintendent Dixon’s

experience in the field of juvenile corrections, he had just become the JTDC’s Superintendent

prior to the Empire filming raising a reasonable inference that the filming was done with Chief

Judge Evans’ approval. (Id. ¶¶ 63, 64.) Under these circumstances and allegations, whether

someone in the Chief Judge’s Office, the Chief Judge, Superintendent Dixon, and/or Transitional

Administrator Dunlap was the relevant administrator and/or decision-maker regarding the Fox

Defendants filming Empire at the JTDC remains unclear. In short, the parties’ legal arguments

concerning immunity are muddied by this change in administration, as well as Plaintiffs’

allegations that the Chief Judge’s Office was exercising county administrative authority – not

judicial authority. Until the parties take discovery to determine which final policy decision-


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           In relation to the 2002 settlement agreement between detainees and the JTDC, the
“district court retained jurisdiction over implementation of the settlement,” and in 2007 the
district court “appointed Dunlap as the Transitional Administrator of the Center.” Coleman v.
Dunlap, 695 F.3d 650, 651 (7th Cir. 2012). “The 2007 order gave Dunlap plenary authority to
‘oversee, supervise, and direct all management, administrative, financial, contractual, personnel,
security, housing, custodial, purchasing, maintenance, technology, health services, mental health
services, food and laundry service, recreational, educational, and programmatic functions
relating to the operation of the [Center] consistent with the authority vested in the position of
Superintendent of the [Center].’” Id. at 651-52.

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maker allowed the Fox Defendants to film Empire at the JTDC, the Chief Judge’s Office remains

a Defendant to this lawsuit.

               2.      Qualified Immunity – Superintendent Dixon

       Similarly, Superintendent Dixon argues that he is protected by qualified immunity.

“Qualified immunity shields government officials from civil damages liability unless the official

violated a statutory or constitutional right that was clearly established at the time of the

challenged conduct.” Taylor v. Barkes, 135 S.Ct. 2042, 2044 (2015) (internal quotation marks

omitted). When evaluating qualified immunity, courts consider: “(1) whether the facts, taken in

the light most favorable to the plaintiff, make out a violation of a constitutional right, and (2)

whether that constitutional right was clearly established at the time of the alleged violation.”

Gill v. City of Milwaukee, 850 F.3d 335, 340 (7th Cir. 2017) (citation omitted). “A plaintiff can

show that a right is ‘clearly established’ by statute or constitution in at least two ways: (1) he can

point to a clearly analogous case establishing the right to be free from the conduct at issue; or (2)

he can show that the conduct was ‘so egregious that no reasonable person could have believed

that it would not violate established rights.’” Beaman, 776 F.3d at 508 (citation omitted).

       Defendant Superintendent Dixon’s first argument is that Plaintiffs’ constitutional

deprivation allegations amount to mere inconveniences, and thus Plaintiffs have not established

the first prong of the qualified immunity test. Defendant Dixon relies on his version of the facts

and not the facts taken in a light most favorable to Plaintiffs, therefore, this argument is without

merit. See Gill, 850 F.3d at 340. The Court thus turns to the second prong of Defendant Dixon’s

qualified immunity defense, namely, whether the juvenile detainees’ right to be free from the

alleged unconstitutional conduct at issue was clearly established in the summer of 2015.


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Plaintiffs’ allegations fall squarely within the protections provided by the seminal case Bell v.

Wolfish (as further articulated by the Schall Court in the context of juvenile detainees) because

Plaintiffs have alleged that the conditions of their confinement – including the denial of health

care – amounted to punishment and that Defendants had no legitimate governmental reason for

the lockdowns that took place in June, July, and August 2015. See Kingsley, 135 S. Ct. at 2473;

see also Paine v. Cason, 678 F.3d 500, 510 (7th Cir. 2012) (“It is clearly established that state

actors who, without justification, increase a person’s risk of harm violate the Constitution.”). In

sum, Defendant Dixon has not established the affirmative defense of qualified immunity at this

early stage of the litigation.

        E.      Monell Liability – Count III

        Because the Chief Judge’s Office and Superintendent Dixon have not established their

affirmative defenses of Eleventh Amendment and qualified immunity, the Court turns to

Plaintiffs’ arguments under Monell. Specifically, in Count III, Plaintiffs allege that Cook County

and/or the Chief Judge’s Office are liable for the alleged due process deprivations pursuant to

Monell v. Department of Social Servs., 436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978).

Cook County, Superintendent Dixon, and the Chief Judge’s Office move to dismiss this claim.

To recover under Monell, Plaintiffs must establish that (1) they suffered a deprivation of a

constitutional right; (2) as a result of an express municipal policy, widespread custom, or

deliberate act of a decision-maker with final policy-making authority, that was (3) the cause of

his constitutional injury. See Glisson v. Indiana Dep’t of Corr., 849 F.3d 372, 379 (7th Cir.

2017); Dixon v. Cnty. of Cook, 819 F.3d 343, 348 (7th Cir. 2016).




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       Plaintiffs seek to establish Monell liability pursuant to the deliberate act of the individual

with the “final policy-making authority” in relation to the administration of the JTDC and the

decision to allow the Fox Defendants to film Empire there. See City of St. Louis v. Praprotnik,

485 U.S. 112, 123, 108 S.Ct. 915, 99 L.Ed.2d 107 (1988); Pembaur v. Cincinnati, 475 U.S. 469,

483, 106 S.Ct. 1292, 89 L.Ed.2d 452 (1986). To do so, they allege that Superintendent Dixon,

Chief Judge Evans, and/or someone in the Chief Judge’s Office knew about and approved the

filming of Empire at the JTDC, and the facility’s consequent lockdowns. (First Am. Compl. ¶¶

29, 56, 63-65.) Although it is undisputed that the Detention Home Act gives the Chief Judge the

power to “appoint an administrator to serve as Superintendent” and that the Chief Judge

appointed Superintendent Dixon in May 2015, as discussed above, it is unclear who made the

decision to allow the Fox Defendants to film episodes of Empire at the JTDC. As such, viewing

Plaintiffs’ allegations as true and all reasonable inferences in their favor, they have sufficiently

stated a claim for Monell liability under Iqbal and Twombly based on a final policy-maker’s

decision. See Presser v. Acacia Mental Health Clinic, LLC, 836 F.3d 770, 776 (7th Cir. 2016)

(“Under Rule 8, a plaintiff only needs to ‘give enough details about the subject-matter of the

case to present a story that holds together.’”) (citation omitted). Once the parties conduct

discovery and uncover who made the final policy decision to allow the Fox Defendants to film

Empire at the JTDC, Plaintiffs can narrow their claims.

       Moreover, although Cook County argues that Plaintiffs have pleaded themselves out of

court because they allege that Chief Judge Evans was the decision-maker with final policy-

making authority, Plaintiffs have also set forth sufficient allegations that Superintendent Dixon

may have also been a final policy decision-maker, and, at this procedural posture, the Court is


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required to view the allegations and all reasonable inferences in Plaintiffs’ favor. See Domanus

v. Locke Lord LLP, 847 F.3d 469, 478 (7th Cir. 2017). These allegations include Superintendent

Dixon’s significant background and experience in the field of juvenile corrections, that he

allegedly entered into the agreement with the other Defendants to permit the crews to film

Empire at the JTDC, and that he aided the Fox Defendants in filming Empire while acting in the

scope of his employment. (First Am. Compl. ¶¶ 29, 63, 83.) The Court therefore denies

Defendants Cook County’s, Superintendent Dixon’s and Chief Judge’s Office’s motions to

dismiss Plaintiffs’ Monell liability claim.

III.   State Law Claims

       A.      Breach of Fiduciary Duty – Count VII

       In Count VII of the First Amended Complaint, Plaintiffs allege that Superintendent

Dixon and Defendant Cook County Does breached their fiduciary duty based Superintendent

Dixon’s role as a guardian or warden of the juvenile detainees. See In re Estate of Gustafson,

268 Ill. App. 3d 404, 407, 206 Ill.Dec. 45, 644 N.E.2d 813 (2d Dist. 1994) (“A ‘fiduciary’ is a

person, having a duty, created by his undertaking, to act primarily for another’s benefit in

matters connected with such an undertaking, and it includes relationships such as a guardian.”).

On the other hand, Defendant Dixon argues:

       Plaintiffs are mistaken because none of the residents of the JTDC are wards of
       Defendant Dixon – or anyone else for that matter. The residents of the JTDC are
       individuals who are awaiting an adjudication proceeding where the court may
       adjudicate them as wards of the court and commit them to the Illinois Department
       of Juvenile Justice. Until that adjudication takes place, the parents or guardians
       maintain their status related to the residents of the JTDC. Accordingly, there is
       no fiduciary relationship between Defendant Dixon and Plaintiffs’ claim must be
       dismissed with prejudice.

(R. 48, Mot. Dismiss, at 12.)

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       In essence, Defendant Dixon is arguing that no state actor has the duty to protect the

juvenile detainees from harm while they were housed at the JTDC – an argument in direct

contradiction of well-established law. See DeShaney v. Winnebago County Dept. of Social

Servs., 489 U.S. 189, 2008, 109 S.Ct. 998, 103 L.Ed.2d 249 (1989) (“when the State takes a

person into its custody and holds him there against his will, the Constitution imposes upon it a

corresponding duty to assume some responsibility for his safety and general well-being.”);

Murphy v. Morgan, 914 F.2d 846, 849 (7th Cir. 1990) (“[o]nce the state assumes custody of a

person, it owes him a rudimentary duty of safekeeping”); cf. Nelson v. Heyne, 491 F.2d 352, 360

(7th Cir. 1974) (“When a state assumes the place of a juvenile’s parents, it assumes as well the

parental duties, and its treatment of its juveniles should, so far as can be reasonably required, be

what proper parental care would provide.”).

       In the tort context and pursuant to the duty of assuming some responsibility for the

juvenile detainees’ safety and well-being, Plaintiffs argue that Defendant Superintendent Dixon

and Defendant Does owed them a fiduciary duty similar to that of guardian’s fiduciary duty to its

wards – even though Plaintiffs had not been officially adjudicated as “wards” of the court under

Illinois’ Juvenile Court Act during the relevant time period. See Parks v. Kownacki, 193 Ill. 2d

164, 169, 249 Ill.Dec. 897, 737 N.E.2d 287 (Ill. 2000) (once individual “accepted the

responsibility of plaintiff’s care and education, he took on the role of her guardian, even though

he was not given that title by a court”); Clayton v. Millers First Ins. Co., 384 Ill. App. 3d 429,

435, 322 Ill.Dec. 976, 892 N.E.2d 613 (5th Dist. 2008) (“In Parks, Illinois recognized that the

term ‘ward’ could be used to describe a person despite no prior adjudication of that status.”);

Parks v. Kownacki, 305 Ill. App. 3d 449, 461, 238 Ill.Dec. 547, 711 N.E.2d 1208 (5th Dist.


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1999), rev’d on other grounds, 193 Ill. 2d 164 (Ill. 2000) (“The duty to protect from harm

certainly encompasses a duty to refrain from harming and to restrain others within one’s control

from harming.”). Based on this Illinois case law, the Court agrees.

       In their First Amended Complaint, Plaintiffs allege that Superintendent Dixon and

Defendant Does had a fiduciary duty in relation to the juveniles’ safety and well-being and

Superintendent Dixon and the Cook County Doe Defendants breached their duty by subjecting

the juveniles to numerous restrictions that were detrimental to their health and safety so that the

Fox Defendants could film a television show. Under these allegations, Plaintiffs have stated

sufficient factual detail raising a reasonable inference that Superintendent Dixon and the Doe

Defendants are liable for breaching their fiduciary duty. See Iqbal, 556 U.S. at 678 (“A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”). Therefore, the

Court denies Defendants Dixon’s and Cook County’s motion to dismiss Count VII.

       B.      Inducement to Breach Fiduciary Duty – Count VIII

       Plaintiffs further allege that the Fox Defendants tortiously induced Defendant Dixon and

the Doe Defendants to breach their fiduciary duty. The elements for the inducement of a breach

of fiduciary duty include that the third party: (1) colluded with the fiduciary in committing a

breach of fiduciary duty; (2) knowingly induced or participated in such breach; and (3) obtained

the benefits resulting from the breach of duty. See Village of Wheeling v. Stavros, 89 Ill. App.

3d 450, 454-55, 44 Ill.Dec. 701, 411 N.E.2d 1067 (1st Dist. 1980). In their motion to dismiss,

the Fox Defendants maintain that Plaintiffs have failed to adequately allege that they knowingly

participated with Defendant Dixon and the Doe Defendants in breaching any fiduciary duty. The


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Fox Defendants also argue Plaintiffs have not alleged that the Fox Defendants received any

benefit from the JTDC administration’s impositions on the juvenile detainees.

       As discussed above, Plaintiffs allege that the Fox Defendants acted together with – and

obtained significant assistance from – the Cook County Defendants in filming Empire for

commercial purposes, and that Defendants knew that filming Empire at the JTDC would result in

the lockdowns, which placed significant restrictions on the juveniles’ movement within the

facility. According to Plaintiffs, the Fox Defendants deliberately encouraged the JTDC’s

administrators and officials to improperly place the JTDC on lockdown during the filming of

Empire for economic and commercial benefits. In doing so, JTDC administrators accommodated

the Fox Defendants’ filming needs over the juveniles’ health and well-being. Missing from

these allegations, however, is that the Fox Defendants “knowingly participated in a breach of

duty.” Village of Wheeling, 89 Ill. App. 3d at 454. Hence, Plaintiffs’ allegations do not plausibly

suggest that they have a right to relief above a speculative level as to the Fox Defendants’

tortious inducement. The Court therefore grants – without prejudice – the Fox Defendants’

motion to dismiss Count VIII. Plaintiffs may re-allege Count VIII in their Second Amended

Complaint.

       C.      Intentional Infliction of Emotional Distress – Count IX

       Next, Plaintiffs bring a common law intentional infliction of emotional (“IIED”) claim

against all of the Defendants. “To recover on a claim for IIED, Illinois law requires a plaintiff to

prove: (1) that the conduct was extreme and outrageous, (2) that the actor intended that his

conduct inflict severe emotional distress or knew that there was a high probability that his

conduct would inflict such distress, and, (3) that the conduct in fact caused severe emotional


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distress.” Bailey v. City of Chicago, 779 F.3d 689, 696 (7th Cir. 2015). The tort of IIED does

not extend to “mere insults, indignities, threats, annoyances, petty oppressions, or other

trivialities.” Boston v. U.S. Steel Corp., 816 F.3d 455, 467 (7th Cir. 2016) (citation omitted).

The “extreme and outrageous character of a defendant’s conduct may arise, not so much from

what he says or does, but from the defendant’s improper use of a position of power which gives

him the ability to adversely affect the plaintiff’s interests.” Fox v. Hayes, 600 F.3d 819, 842 (7th

Cir. 2010) (citation omitted). Also, Illinois “courts consider whether the defendant knew the

plaintiff was particularly susceptible to emotional distress and acted inappropriately despite that

knowledge.” Cairel v. Alderden, 821 F.3d 823, 836 (7th Cir. 2016). “In determining whether

conduct is extreme and outrageous, courts use an objective standard based on all the facts and

circumstances of the case.” Bianchi v. McQueen, 58 N.E.3d 680, 700, 405 Ill.Dec. 419 (2d Dist.

2016).

         Key to Plaintiffs’ IIED claim is Defendant Dixon’s and the Doe Defendants’ position of

power over them because they were juvenile detainees who were susceptible to emotion distress

due to their known mental health issues and other circumstances of their confinement. See

Cairel, 821 F.3d at 836; Fox, 600 F.3d at 842. In this context, Plaintiffs have sufficiently alleged

that the juveniles detainees were psychologically vulnerable and that by being placed in their

cells or jail-like pods, they suffered additional emotional trauma and a resultant lack of access to

medical and other JTDC facilities. To state a claim for IIED, however, Plaintiffs must also

allege that Defendants’ conduct went beyond all possible bounds of decency and is regarded as

intolerable in a civilized community. See Cairel, 821 F.3d at 835; Bianchi, 58 N.E.3d at 700. In

Bianchi, for example, the Illinois Appellate Court concluded that the defendant special


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prosecutors’ abuse of power was extreme and outrageous where “plaintiffs alleged that

defendants fabricated and manufactured evidence and concealed exculpatory evidence for the

purpose of falsely and maliciously detaining, arresting, and charging plaintiffs, knowing that

such charges lacked probable cause.” Id. at 700; see also Alexander v. United States, 721 F.3d

418, 425 (7th Cir. 2013) (plaintiff prosecuted without probable cause due to fabricated evidence

sufficiently stated extreme and outrageous conduct under Rule 12(b)(6)); Thomas v. City of Blue

Island, 178 F. Supp. 3d 646, 656 (N.D. Ill. 2016) (plaintiff adequately alleged extreme and

outrageous conduct based on allegations that “police purposely failed to investigate a crime

against a child resulting in the child’s death in order to protect a political or personal connection

or friend”); Chatman v. City of Chicago, No. 14 C 2945, 2016 WL 4734361, at *5 (N.D. Ill.

Sept. 12, 2016) (defendants’ conduct in “knowingly withholding exculpatory information, even

though they were aware that there was a high likelihood that disclosure of the information would

impact [plaintiff’s] trial and appeal” amounted to extreme and outrageous conduct.)

       In light of these cases and viewing the allegations in Plaintiffs’ favor, they have alleged

sufficient details that the Defendant Dixon and the Cook County Defendants had a position of

power over them and abused this power by depriving them freedom of movement and access to

vital services, such as health care, amounting to extreme and outrageous conduct. Plaintiffs also

allege that Defendant Dixon and the Doe Defendants were aware of the detainees’ emotional and

psychological problems in abusing this power. “Mindful of the relatively low bar [Plaintiffs are]

required to clear at this preliminary stage of his case,” Plaintiffs’ IIED claim against Defendant

Dixon and the Doe Defendants sufficiently passes muster under Rule 12(b)(6). See Alexander,

721 F.3d at 425. The Court views Plaintiffs’ allegations as to the Fox Defendants’ conduct


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differently because the First Amended Complaint does not allege sufficient facts to establish that

the Fox Defendants were in a position of power over Plaintiffs and it is not reasonable to infer

from the facts as alleged that the Fox Defendants knew of Plaintiffs’ mental health care issues

and the circumstances of their confinement. Thus, Plaintiffs have not adequately alleged that the

Fox Defendants knew that there was a high probability that their conduct would cause severe

emotional distress. See McGreal v. Village of Orland Park, 850 F.3d 308, 314 (7th Cir. 2017);

Bailey, 779 F.3d at 696. The Court therefore grants in part and denies in part Defendants’

motions to dismiss Plaintiffs’ IIED claim. The Court grants Plaintiffs leave to re-allege their

IIED claim against the Fox Defendants keeping in mind counsel’s Rule 11 obligations.

       In addition, the Chief Judge’s Office did not respond to Plaintiffs’ IIED allegations in its

legal memoranda, and thus the Chief Judge’s Office, its agents, and employees remain

Defendants to Plaintiffs’ IIED claim. See Steen v. Myers, 486 F.3d 1017, 1020-21 (7th Cir.

2007) (absence of discussion in brief amounts to abandonment of argument).

       Last, Defendant Dixon and Cook County argue that the one-year limitations period

pursuant to 745 ILCS 10/8-101 of the Illinois Tort Immunity Act bars Plaintiffs’ IIED claim (and

presumably Plaintiffs’ other state law claims). Because this one-year limitations period does not

begin to run until Plaintiffs reach 18 years of age, and Plaintiffs brought this lawsuit when they

were under the age of 18, Defendants’ statute of limitations argument is misplaced. See Lee v.

Naperville Cmty. Unit Sch. Dist. 203, 53 N.E.3d 55, 61, 403 Ill.Dec. 1 (2d Dist. 2015) (“although

section 13–211 tolls the limitations period until the plaintiff attains the age of 18, section 8–101

requires the action to be commenced within one year thereafter.”).




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         D.         State Law Conspiracy Claim – Count X

         The Court next considers whether Plaintiffs have sufficiently alleged their state law civil

conspiracy claim – which sounds in tort – against all of the Defendants under the dictates of

Iqbal and Twombly. “In Illinois, civil conspiracy is defined as ‘a combination of two or more

persons for the purpose of accomplishing by concerted action either an unlawful purpose or a

lawful purpose by unlawful means.’” Independent Trust Corp. v. Stewart Info. Servs. Corp., 665

F.3d 930, 938 (7th Cir. 2012) (citation omitted). Under Illinois law, “to state a claim for civil

conspiracy, a plaintiff must allege an agreement and a tortious act committed in furtherance of

that agreement.” McClure v. Owens Corning Fiberglas Corp., 188 Ill.2d 102, 133, 720 N.E.2d

242, 241 Ill.Dec. 787 (Ill. 1999); see also Adcock v. Brakegate, Ltd., 164 Ill. 2d 54, 63, 206

Ill.Dec. 636, 645 N.E.2d 888 (Ill. 1994) (“A cause of action for civil conspiracy exists only if

one of the parties to the agreement commits some act in furtherance of the agreement, which is

itself a tort.”).

         Although Plaintiffs have sufficiently alleged their breach of fiduciary duty and IIED

claims, they have failed to adequately allege that the Fox Defendants had an agreement with

Defendant Dixon and other Doe Defendants and committed tortious acts in furtherance of that

agreement. To do so, Plaintiffs would need to plausibly allege that the Fox Defendants planned,

assisted, and encouraged the tortious conduct at issue. See McClure, 188 Ill. 2d at 133 (“The

civil conspiracy theory has the effect of extending liability for a tortious act beyond the active

tortfeasor to individuals who have not acted but have only planned, assisted, or encouraged the

act.”). On the other hand, because the Chief Judges’ Office did not respond to Plaintiffs’ IIED

and state law civil conspiracy allegations, the Chief Judge’s Office remains a Defendant to these


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claims. See Citizens for Appropriate Rural Roads v. Foxx, 815 F.3d 1068, 1078 (7th Cir. 2016)

(failing to respond to arguments amounts to waiver). The Court therefore grants in part without

prejudice and denies in part Defendants’ motions to dismiss Plaintiffs’ civil conspiracy claim as

alleged in Count X.

IV.     Respondeat Superior and Indemnification Claims – Counts XI and XII

        Plaintiffs bring a respondeat superior claim against the Chief Judge’s Office, Cook

County, and the Fox Defendants in Count XI based on the liability of their employees and agents

acting within the scope of their authority or employment. Because certain state law claims

survive Defendants’ motion to dismiss as to Cook County and the Chief Judge’s Office, this

respondeat superior claim remains in this lawsuit. See Coghlan v. Beck, 984 N.E.2d 132, 153,

368 Ill.Dec. 407 (1st Dist. 2013) (“Under the theory of respondeat superior, an employer can be

liable for the torts of an employee, but only for those torts that are committed within the scope of

the employment, including negligent, willful, malicious, or even criminal acts.”).5 Finally,

because Cook County is a necessary party to this lawsuit for indemnification purposes under 745

ILCS 10/9-102, Count XII is properly alleged.

V.      Named Fox Defendants

        As to the argument that not all of the Fox entities can be held liable in this lawsuit, the

Fox Defendants made this argument in two perfunctory footnotes (and again in a cursory fashion

it the reply brief) that merely contradict Plaintiffs’ well-pleaded allegations. The Fox



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         Although the Fox Defendants seek to dismiss Count XI as redundant, it is not
uncommon for litigants in this district to allege state law respondeat superior and
indemnification claims as separate counts. Therefore, the Court denies the Fox Defendants’
request.

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Defendants have therefore waived this argument at this procedural posture. See Evergreen

Square of Cudahy v. Wisconsin Hous. & Econ. Dev. Auth., 848 F.3d 822, 829 (7th Cir. 2017)

(“A party may waive an argument by presenting it only in an undeveloped footnote.”).

Nonetheless, the Court encourages Plaintiffs to attempt to narrow the Fox Defendants in their

Second Amended Class Action Complaint.

                                        CONCLUSION

       For these reasons, the Court grants in part and denies in part Defendants’ motions to

dismiss brought pursuant to Rule 12(b)(6).

Dated: April 20, 2017
                                             ENTERED



                                             ______________________________
                                             AMY J. ST. EVE
                                             United States District Court Judge




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